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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

JULIO M. CAY-MONTAÑEZ
                                              CIVIL NO. 19-1124
PLAINTIFF

VS.
                                              WRONGFUL DENIAL OF BENEFITS;
AXA EQUITABLE LIFE INSURANCE                  EMPLOYEE      RETIREMENT     INCOME
COMPANY;                                      SECURITY ACT (ERISA);
DISABILITY           MANAGEMENT               TORT CIVIL ACTION
SERVICES, INC.;
UNUM GROUP;                                   TRIAL BY JURY DEMANDED
DR. JORGE H. LONDOÑO, his spouse
JANE DOE and the conjugal
partnership between them;
DR. TERESA DALMAU, her spouse
JOHN DOE and the conjugal
partnership between them;
DR. JEFFREY HARRIS GREEN, her
spouse JOHN DOE and the conjugal
partnership between them;
DR. JOHN J. SZLYK, her spouse
JOHN DOE and the conjugal
partnership between them;
INSURANCE COMPANY XYZ;
COMPANY ABC;
JOHN & JANE DOE.

DEFENDANTS

                                          COMPLAINT

TO THE HONORABLE COURT:

       COMES NOW, Julio M. Cay-Montañez, (“Plaintiff”), through the undersigned

attorneys and very respectfully states, alleges and prays as follows:

                                PRELIMINARY STATEMENT

       1.      Plaintiff obtained two insurance policies from AXA Equitable Life Insurance

Company (“AXA”). Decades later, Plaintiff applied for disability benefits based on these
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insurance policies. The disability benefits were received by Plaintiff since October 6th, 2011 until

March 4th, 2016, when AXA wrongfully denied the disability benefits based on insufficient

evidence. Plaintiff appealed the decision to deny Plaintiff’s disability benefits. Plaintiff’s appeal

was handled by Disability Management Services, Inc. (“DMS”) and the UNUM GROUP

(“UNUM”). In February of 2018, DMS and UNUM wrongfully confirmed AXA’s decision to

deny the disability benefits to the Plaintiff based insufficient evidence that did not asses

Plaintiff’s disability with regards to his ability to perform his job-related tasks. Even though at

present the Plaintiff continues to suffer from his disability and cannot perform his job-related

tasks, AXA wrongfully denied his disability benefits based on insufficient evidence. Therefore,

the Plaintiff seeks this Court to reverse the denial of disability of benefits based on the

insufficient evidence used by AXA, DMS and UNUM and to enforce Plaintiff’s rights under the

insurance policy plan which has been wrongfully denied.

       2.      Plaintiff files this civil action against AXA, DMS and UNUM (jointly referred to

as “Defendants”), based on the Wrongful Denial of Benefits civil action pursuant to the

Employee Retirement Income Security Act of 1974 (“ERISA”), 29 USCA sec. 1132.

Additionally, Plaintiff files this civil action against Dr. Jorge H. Londoño, Dr. Teresa Dalmau,

Dr. Jeffrey Harris Green and Dr. John J. Szlyk (“Defendants’ Experts”) based on tort civil action

pursuant to Article 1802 of the Puerto Rico Civil Code.

       3.      Plaintiff seeks compensatory, punitive, double and liquidated damages and

equitable and injunctive relief for Defendants’ wrongful denial of disability benefits pursuant to

the two insurance policies of AXA and Defendants’ Experts negligent evaluations which led to

this wrongful denial of disability benefits. In addition, Plaintiff seeks other specific remedies that




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restore him to the position that he would have held in the absence of the wrongful denial of

disability benefits.

                                     JURISDICTION AND VENUE

        4.      The United States District Court for the District of Puerto Rico has jurisdiction

over this action under 28 U.S.C. sec. 1331 since the matter of this civil action arises under the

Constitution, laws, or treaties of the United States. Specifically, Plaintiff files this action

pursuant to the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 USCA sec.

1132.

        5.      Plaintiff further invokes pendent or supplemental jurisdiction of this Court under

28 USC sec. 1367 to hear Puerto Rico law claims arising from the same nucleus of operative

facts. Specifically, Plaintiff files this action tort damages civil Action pursuant to Articles 1802

of Puerto Rico’s Civil Code, 31 LPRA secs. 5141, 5142.

        6.      Pursuant to 28 U.S.C. sec. 1391 (a), venue is proper in the District of Puerto Rico

because the events that justify the causes of action occurred in this district.

                                             PARTIES

        7.      Plaintiff, Julio M. Cay-Montañez is of legal age, retired, married, domiciled and

resident of San Juan, Puerto Rico. Plaintiff’s postal address is the following: PO Box 975, San

Lorenzo, PR 00754-0975.

        8.      According to information and belief, Defendant AXA Equitable Life Insurance

Company (“AXA”) is found to be incorporated in the Registry of Corporations of the

Department of State of the Commonwealth of Puerto Rico. It is dedicated to the insurance

industry. The address of its resident agent in Puerto Rico is: c/o Fast Solutions, LLC, Citi Tower




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252, Ponce de Leon Ave., Floor 20, San Juan, PR 00918. Plaintiff reserves the right to amend the

Complaint once more information is discovered.

       9.      According to information and belief, Defendant Disability Management Services,

Inc. (“DMS”) is incorporated pursuant to Massachusetts Law. It is dedicated as a third-party

administrator for AXA. The address of its resident agent in Massachusetts is: Registered Agent

Solutions, Inc., 44 School St. Suite 325, Boston, MA 02108. Plaintiff reserves the right to amend

the Complaint once more information is discovered.

       10.     According to information and belief, Defendant UNUM GROUP (“UNUM”) is

incorporated pursuant to Delaware Law. It is dedicated as a third-party administrator for AXA.

The address of its resident agent in Delaware is: Registered Agent Corporation Service

Company, 251 Little Falls Drive, Wilmington, DE 19808. Plaintiff reserves the right to amend

the Complaint once more information is discovered.

       11.     According to information and belief, Defendant Jorge H. Londoño (“Londoño”) is

an expert witness used by Defendants for purposes of investigating Plaintiff’s disability. His

office address is 1150 Madruga Avenue Suite 509, Coral Gables, FL 33146. Londoño has a

spouse and they have a conjugal partnership between them. Plaintiff reserves the right to amend

the Complaint once more information is discovered.

       12.     According to information and belief, Defendant Teresa Dalmau (“Dalmau”) is an

expert witness used by Defendants for purposes of investigating Plaintiff’s disability. Her office

address is Ave. Hostos #579 Baldrich, Hato Rey, Puerto Rico 00918. Dalmau has a spouse and

they have a conjugal partnership between them. Plaintiff reserves the right to amend the

Complaint once more information is discovered.




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       13.     According to information and belief, Defendant Jeffrey Harris Green (“Green”) is

an expert witness used by Defendants for purposes of investigating Plaintiff’s disability. His

office address is 170 Cold Soil Road, Cedar Glen Professional Association, Princeton NJ 08540.

Green has a spouse and they have a conjugal partnership between them. Plaintiff reserves the

right to amend the Complaint once more information is discovered.

       14.     According to information and belief, Defendant John J. Szlyk (“Szlyk”) is an

expert witness used by Defendants for purposes of investigating Plaintiff’s disability. His office

address is UMUM Provident, 18 Chestnut St., Worcester, MA 01603. Szlyk has a spouse and

they have a conjugal partnership between them. Plaintiff reserves the right to amend the

Complaint once more information is discovered.

       15.     Co-Defendant, Insurance Company XYZ (“Insurance Company XYZ”), held an

insurance policy in favor of the Defendants. At the time of the wrongful denial of benefits

described herein, Insurance Company XYZ held an insurance policy in favor of the Defendants’,

specifically to cover these claims. Their current address is unknown. Plaintiff reserves the right

to amend the Complaint once more information is discovered.

       16.     Co-Defendant, Company ABC (hereinafter referred to as “Company ABC”), is

another business company, which is the parent company or an affiliated company of the

Defendants, that directed and had knowledge of Defendants’ wrongful denial of benefits of

which Plaintiff is complaining. Their Current address is unknown. Plaintiff reserves the right to

amend the Complaint once more information is discovered.

       17.     Co-Defendant, John & Jane Doe (hereinafter referred to as “Doe”), is another

agent, supervisor, official or director who is affiliated with the Defendants, who directed and had

knowledge of Defendants’ wrongful denial of benefits of which Plaintiff is complaining. Their




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Current address is unknown. Plaintiff reserves the right to amend the Complaint once more

information is discovered.

                                           THE FACTS

          18.   Plaintiff worked for the company Metro Tech Corporation (“Metro Tech”).

          19.   Metro Tech provides services regarding special equipment and instruments for the

Pharmaceutical Industry following the Code of Federal Regulations (“CFR”). Specifically, Metro

Tech must comply with the relevant portions under 21 CFR secs. 211.22, 211.25, 211.28 and

211.34.

          20.   Plaintiff worked for Metro Tech for over 30 years.

          21.   Plaintiff worked as President of Metro Tech.

          22.   Plaintiff’s work functions and duties not only involved administrating Metro

Tech, but also being heavily involved in the installation, calibration, validation and maintenance

of the Metro Tech equipment and instruments supplied to their clients within the Pharmaceutical

Industry, in compliance with 21 CFR secs. 211.22, 211.25, 211.28 and 211.34.

          23.   During the time working for Metro Tech, the Plaintiff obtained two insurance

policies from AXA.

          24.   The insurance policies are identified by the following numbers: AXA Policy

88721682 and AXA Policy 95706817.

          25.   Said insurance policies establish that if the insured suffers a disability that

severely affects the main duties of Plaintiff’s occupation, he would be eligible to receive

disability benefits.

          26.   In or around 2010 and/or 2011, Plaintiff began to suffer severe bouts of

depression due to various circumstances.




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         27.   Due to Plaintiff’s severe bouts of depression, the Plaintiff was diagnosed as

disabled by a medical provider.

         28.   The Plaintiff attended with the medical provider for approximately three to four

years.

         29.   Specifically, the medical provider used the guides to evaluate permanent mental

impairment.

         30.   Plaintiff thus sought disability benefits from both the Social Security

Administration (“SSA”) and the private AXA Insurance Policies.

         31.   The Plaintiff was evaluated by the SSA and was provided disability benefits

pursuant to his social security.

         32.   The Plaintiff presently receives the disability benefits from the SSA.

         33.   The Plaintiff contacted AXA approximately on 2013 to submit a claim for

disability benefits pursuant to the AXA Insurance Policy.

         34.   Plaintiff informed AXA that he ceased to work approximately in 2012.

         35.   AXA began to provide disability benefits since October of 2011, recognizing that

date as the Claim’s onset date.

         36.   Plaintiff received monthly disability benefit payments pursuant to the AXA

insurance policy.

         37.   Plaintiff’s monthly disability benefit was for the amount of approximately four

thousand dollars ($4,000.00) per month.

         38.   Plaintiff received monthly disability benefit payments from December of 2013

until March of 2016.




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        39.     Nonetheless the disability benefits provided, AXA continued to evaluate

Plaintiff’s eligibility for disability benefits.

        40.     As part of AXA’s evaluation of Plaintiff’s eligibility for disability benefits, AXA

utilized DMS and UNUM as their investigators.

        41.     DMS and UNUM are both paid and retained by AXA for the purposes of

investigating the eligibility of claimants who seek disability benefits.

        42.     DMS and UNUM have a conflict of interest in evaluating and investigating

Plaintiff’s eligibility for AXA’s disability benefits.

        43.     DMS and UNUM hired and paid Londoño, Dalmau, Green and Szlyk as their

“experts” to either investigate and interview the Plaintiff, as well as review medical files.

        44.     Londoño, Dalmau, Green and Szlyk have a conflict of interest in evaluating,

reviewing and investigating Plaintiff’s eligibility for AXA’s disability benefits.

        45.     Defendants’ Experts either did not interview or briefly interviewed the Plaintiff in

a span of less than half an hour to an hour.

        46.     Defendants’ Experts made generalized statements based on their brief

observations, review and analysis.

        47.     None of Defendants’ Experts carefully evaluated the Plaintiff using the scientific

rating instruments recommended by medical treaties to corroborate if a Patient can perform his

job-related functions.

        48.     Specifically, the Defendants’ Experts did not use the guides to evaluate permanent

mental impairment.

        49.     The Defendants’ Experts did not use the psychiatric rating scale that is necessary

to make a reasoned judgment.




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         50.   By not using the psychiatric rating scale, the Defendants’ Experts did not provide

sufficient medical evidence that correctly assessed Plaintiff’s ability to perform his job-related

tasks.

         51.   Even though the Defendants and Defendants’ Experts had conflicts of interests to

evaluate and investigate Plaintiff’s eligibility for AXA’s disability benefits, they pursued the

matter and recommended the wrongful denial of disability benefits based on insufficient medical

evidence.

         52.   The Defendants sent Plaintiff two letters on April and May of 2016, informing the

Plaintiff that they would cease and deny the disability benefits to the Plaintiff.

         53.   Defendants ceased providing the monthly disability benefit payments to the

Plaintiff by March of 2016.

         54.   The Plaintiff filed a timely administrative appeal as to the Defendants’ decision to

wrongfully deny Plaintiff’s disability benefits.

         55.   The Plaintiff submitted before the Appeal various evidence to demonstrate that

there was insufficient medical evidence to justify the denial of disability benefits.

         56.   Specifically, the Plaintiff hired another expert witness, Dr. Jose R. Rodriguez Cay

(“Plaintiff’s Expert”), whom issued an opinion that the Defendants’ Experts made vast reaching

conclusions based in insufficient evidence.

         57.   Plaintiff’s Expert determined that the reports of Defendants’ Experts contained

large omissions and did not rely on any scientific ratings instrument necessary to evaluate the

mental impairment of the Plaintiff.




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        58.     Plaintiff’s Expert demonstrated that no psychiatric rating scale was used in the

reports of Defendants’ Experts that correctly shows Plaintiff’s Mental and Behavior Disorder

with regards to Plaintiff’s ability to perform his job-related tasks.

        59.     Specifically, Plaintiff’s Expert issued an opinion that no medical evidence was

correctly assessed to determine if the Plaintiff could perform his work functions and duties

involved in the installation, calibration, validation and maintenance of the Metro Tech equipment

and instruments supplied to their clients within the Pharmaceutical Industry, in compliance with

21 CFR secs. 211.22, 211.25, 211.28 and 211.34.

        60.     Plaintiff’s Expert informed the Defendants that none of Defendants’ Experts

considered Plaintiff’s job functions and duties in their reports, which was strictly based on their

brief interaction with the Plaintiff in a casual half hour conversation.

        61.     Plaintiff’s Expert determined that Defendants’ Experts were negligent in how

their examination was generalized and superficial, without support of any type of documentation

and without considering the cultural differences.

        62.     Plaintiff incurred in approximately ninety-six thousand dollars ($96,000.00) in

expert witness expenses during the administrative appeal process.

        63.     After two years transpired, the Defendants rendered two letters on February of

2018, notifying the Plaintiff that the Defendants determined that they would deny Plaintiff’s

disability benefits.

        64.     The Defendants wrongfully denied Plaintiff’s disability benefits in violation of the

terms of AXA’s insurance policy.

        65.     The Defendants breached their fiduciary duty to the Plaintiff by violating the

terms of the insurance plan.




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          66.   The Defendants’ Experts were negligent in their duties to provide an extensive

and specific examination to carefully evaluate Plaintiff’s disability.

          67.   The Defendants’ Experts were negligent in their duties in that they did not

provide sufficient medical evidence to assess Plaintiff’s ability to perform his job-related tasks.

          68.   Based on Defendants’ Experts negligent actions, they caused that Defendants’

wrongfully deny Plaintiff’s disability benefits in violation of the terms of AXA’s insurance

policy.

          69.   Company ABC was the parent company or an affiliated company of the

Defendants. Company ABC had knowledge of Defendants’ wrongful denial of disability benefits

for the Plaintiff. Company ABC did not take any proper action to rectify and/or avoid the

wrongful denial of disability benefits incurred by Defendants. Company ABC allowed

Defendants to wrongfully deny the disability benefits of the Plaintiff and thus breached their

fiduciary duty by violating the terms of the insurance plan.

          70.   John & Jane Doe had knowledge of Defendants’ wrongful denial of disability

benefits for the Plaintiff. John & Jane Doe did not take any proper action to rectify and/or avoid

the wrongful denial of disability benefits incurred by Defendants. John & Jane Doe allowed

Defendants to wrongfully deny the disability benefits of the Plaintiff and thus breached their

fiduciary duty by violating the terms of the insurance plan.

          71.   At the time of these discriminatory incidents, Insurance Company XYZ held an

insurance policy in favor of the Defendants, specifically to cover said claims. Said insurance

policy was in force at the time of the discriminatory incidents.

          72.   Ever since Plaintiff’s disability benefits were wrongfully denied, the Plaintiff has

suffered economic losses and deprivation of his disability benefits.




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        73.     Plaintiff has lost sleep and rest, felt humiliated, and has been at loss of his peace

of mind and emotional stability.

        74.     Presently, Plaintiff is still being medically treated for severe depression, being

prescribed several medicines to treat the same.

        75.     The Defendants and Defendants Experts are liable for all of the Plaintiff’s

damages.

                                   FIRST CAUSE OF ACTION

                            WRONGFUL DENIAL OF BENEFITS

        76.     Plaintiff re-alleges each allegation stated in the preceding paragraphs as if fully

set forth herein.

        77.     Defendants’ actions altered Plaintiff’s disability benefits pursuant to the AXA

Insurance Policies.

        78.     Plaintiff was eligible for the disability benefits pursuant to the AXA Insurance

Policies.

        79.     However, Defendants did not make a reasoned judgment based on medical

evidence that assessed Plaintiff’s ability to perform job-related tasks.

        80.     Defendants incorrectly assessed that the Plaintiff had the ability to perform job-

related tasks, when the Plaintiff was in fact impaired to perform the job-related tasks in

compliance with 21 CFR secs. 211.22, 211.25, 211.28 and 211.34.

        81.     Plaintiff seeks to recover benefits due to him under the terms of the AXA

Insurance Policies.

        82.     Plaintiff seeks to enforce his rights under the terms of the AXA Insurance

Policies.




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         83.    Plaintiff seeks to clarify his rights to future benefits under the terms of the AXA

Insurance Policy.

         84.    Specifically, Plaintiff’s AXA Insurance Policy states the terms regarding

eligibility of disability benefits.

         85.    Plaintiff meets the terms regarding eligibility of disability benefits.

         86.    Because the Plaintiff is eligible as to disability benefits pursuant to the terms of

the AXA Insurance Policy, Plaintiff has the right to recover benefits due to him under those same

terms.

         87.    Because the Plaintiff is eligible as to disability benefits pursuant to the terms of

the AXA Insurance Policy, Plaintiff has the right to enforce his rights under those same terms.

         88.    Because the Plaintiff is eligible as to disability benefits pursuant to the terms of

the AXA Insurance Policy, Plaintiff has the right to future benefits under those same terms.

         89.    As a result of Defendants’ wrongful denial of disability benefits, Defendants are

liable for compensatory, statutory and liquidated damages pursuant to 29 USC 1132 (g) for all

unpaid contributions, interest on the unpaid contributions, attorney’s fees, costs and any other

legal or equitable relief as the Court deems appropriate.

         90.    The damages for unpaid contributions are estimated at no less than nine hundred

sixty thousand dollars ($960,000.00) for approximately twenty years of unpaid benefits.

         91.    Additionally, the Defendants are liable for the interest of the unpaid contributions

that are estimated at no less than nine hundred sixty thousand dollars ($960,000.00).

                                      SECOND CAUSE OF ACTION

                                 BREACH OF FIDUCIARY DUTY




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        92.     Plaintiff re-alleges each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        93.     Defendants had a conflict of interest to evaluate the Plaintiff because they had a

dual status as administrator and payer of the disability benefits of the Plaintiff.

        94.     As a result of Defendants breach of fiduciary duty, Defendants are equally liable

for compensatory, statutory and liquidated damages pursuant to 29 USC 1132 (g) for all unpaid

contributions, interest on the unpaid contributions, attorney’s fees, costs and any other legal or

equitable relief as the Court deems appropriate.

        95.     The damages for unpaid contributions are estimated at no less than nine hundred

sixty thousand dollars ($960,000.00) for approximately twenty years of unpaid benefits.

        96.     Additionally, the Defendants are liable for the interest of the unpaid contributions

that are estimated at no less than nine hundred sixty thousand dollars ($960,000.00).

                                  THIRD CAUSE OF ACTION

                                        TORTS DAMAGES

        97.     Plaintiff re-alleges each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        98.     Defendants’ actions constitute an act or omission which caused damage to

Plaintiff. Said act or omission was incurred due to fault or negligence.

        99.     All Defendants are liable to Plaintiff pursuant to Article 1802 of the Civil Code of

Puerto Rico, 31 LPRA sec. 5141.

        100.    Specifically, the Defendants’ Experts either did not interview or briefly

interviewed the Plaintiff in a span of less than half an hour to an hour.




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         101.   Defendants’ Experts made generalized statements based on their brief

observations, review and analysis.

         102.   None of Defendants’ Experts carefully evaluated the Plaintiff using the scientific

rating instruments recommended by medical treaties to corroborate if a Patient can perform his

job-related functions.

         103.   The Defendants’ Experts did not use the guides to evaluate permanent mental

impairment.

         104.   The Defendants’ Experts did not use the psychiatric rating scale that is necessary

to make a reasoned judgment.

         105.   By not using the psychiatric rating scale, the Defendants’ Experts did not provide

sufficient medical evidence that correctly assessed Plaintiff’s ability to perform his job-related

tasks.

         106.   Even though the Defendants’ Experts had conflicts of interests to evaluate and

investigate Plaintiff’s eligibility for AXA’s disability benefits, they pursued the matter and

recommended the wrongful denial of disability benefits based on insufficient medical evidence.

         107.   Therefore, the Defendants’ Experts actions constitute an act or omission which

caused damage to Plaintiff. Said act or omission was incurred due to fault or negligence.

         108.   The Defendants’ Experts are liable to Plaintiff pursuant to Article 1802 of the

Civil Code of Puerto Rico, 31 LPRA sec. 5141.

         109.   Some of Defendants’ Experts are officers and/or employees of Defendants.

         110.   Therefore, Defendants are vicariously liable for damages caused by their officers

and/or employees in their service pursuant to Article 1803 of the Civil Code of Puerto Rico, 31

LPRA sec. 5142.




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       111.    John & Jane Doe’s actions constitute an act or omission which caused damage to

Plaintiff. Said act or omission was incurred due to fault or negligence.

       112.    John & Jane Doe’s are liable to Plaintiff pursuant to Article 1802 of the Civil

Code of Puerto Rico, 31 LPRA sec. 5141.

       113.    Company ABC’s actions constitute an act or omission which caused damage to

Plaintiff. Said act or omission was incurred due to fault or negligence.

       114.    Company ABC is liable to Plaintiff pursuant to Article 1802 of the Civil Code of

Puerto Rico, 31 LPRA sec. 5141.

       115.    Defendants’ actions as subsidiary company of Company ABC constitute an act or

omission which caused damages to Plaintiff. Said act or omission was incurred due to fault or

negligence.

       116.    Therefore, Company ABC is vicariously liable for damages caused by the

Defendants’ in their service pursuant to Article 1803 of the Civil Code of Puerto Rico, 31 LPRA

sec. 5142.

       117.    All before mentioned Defendants are jointly and severally liable for their

negligent and intentional tort actions.

       118.    As a result thereof, Defendants’ are liable for compensatory and statutory

damages pursuant to Article 1802 and 1803 of the Civil Code of Puerto Rico, 31 LPRA sec.

5141, 5142. These damages are estimated at no less than two million eight hundred thousand

dollars ($2,800,000.00).

                                  FIFTH CAUSE OF ACTION

        INSURANCE COMPANIES ARE JOINTLY AND SEVERALLY LIABLE




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        119.    Plaintiff re-alleges each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        120.    Insurance Company XYZ is directly, jointly and severally liable, along with the

other Co-defendants to the Plaintiff for the damages caused by their insured, pursuant to the

terms and coverage of their respective policy of insurance.

                                  SIXTH CAUSE OF ACTION

                    ATTORNEYS FEES AND PREJUDGMENT INTEREST

        121.    Plaintiff re-alleges each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        122.    Defendants’ are liable to Plaintiff for attorney’s fees and costs under 29 U.S.C.S.

1132 (g).

        123.    Defendants’ are liable for prejudgment interest pursuant to Rule 54 of the Federal

Rules of Civil Procedure and 29 U.S.C.S. 1132 (g).

                                             PRAYER

        Wherefore, all allegations considered, Plaintiff prays that judgment be entered in their

favor and against all Defendants’, specifically:

        1. Granting Plaintiff’s Complaint against Defendants. This Court should grant Plaintiff’s

            complaint and find that the Defendants are liable to the Plaintiff based on the

            following: Wrongful Denial of Benefits civil action pursuant to the Employee

            Retirement Income Security Act of 1974 (“ERISA”), 29 USCA sec. 1132., and tort

            civil action pursuant to Article 1802 of the Puerto Rico Civil Code.

        2. An order directing Defendants to reinstate Plaintiff to his former position and to cease

            and desist of any further wrongful conduct.




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        3. Awarding compensatory, statutory and liquidated damages pursuant to 29 USC 1132

           (g) for all unpaid contributions, interest on the unpaid contributions, attorney’s fees,

           costs and any other legal or equitable relief as the Court deems appropriate.

        4. Awarding Plaintiff lost benefits, both past and future.

        5. Awarding Plaintiff, the amounts before mentioned in the Complaint.

        6. Awarding Plaintiff compensatory and statutory damages pursuant to Article 1802 and

           1803 of the Civil Code of Puerto Rico, 31 LPRA sec. 5141, 5142.

        7. Awarding Plaintiff reasonable attorney’s fees, together with costs, litigation expenses,

           and necessary disbursements.

        8. Awarding Plaintiff any and all other relief to which Plaintiff may be justly entitled.

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this same date, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

all counsel of record.

        RESPECTFULLY SUBMITTED: In San Juan, Puerto Rico on this 5th day of February,

2019.

                                      S/VICTOR M. RIVERA-RIOS
                                      VICTOR M. RIVERA-RIOS
                                      USDC BAR NUMBER 301202
                                      1420 FERNANDEZ JUNCOS AVE
                                      SAN JUAN, PR 00909
                                      Telephone: (787) 727-5710
                                      Facsimile: (787) 268-1835
                                      E-Mail: victorriverarios@rcrtrblaw.com




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